                         UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 In re:                                                Chapter 7

 FRANK MARTIN PARIS, JR.,                              Case No. 23-16481

                                Debtor.                Hon. David D. Cleary

                                    NOTICE OF MOTION

To:       See Attached List

       PLEASE TAKE NOTICE that on July 24, 2024, at 10:00 a.m., I will appear before the
Honorable Daivd D. Cleary, or any judge sitting in that judge’s place, either in courtroom 644 of
the United States Courthouse, 219 S. Dearborn Street, Chicago, Illinois 60604 or electronically as
described below, and present the Trustee’s Motion For The Entry Of An Order (I) Authorizing
The Trustee To Use Debtor’s Ownership Interest In And Control Over Martin NV II, Inc.
To File A Chapter 7 Petition On Behalf Of Martin NV II, Inc. And (II) Approving Shortened
And Limited Notice, a copy of which is attached.

       Important: Only parties and their counsel may appear for presentment of the motion
electronically using Zoom for Government. All others must appear in person.

        To appear by Zoom using the internet, go to this link: https://www.zoomgov.com/. Then
enter the meeting ID and passcode.

       To appear by Zoom using a telephone, call Zoom for Government at 1-669-254-5252 or
1-646-828-7666. Then enter the meeting ID and passcode.

       Meeting ID and passcode. The meeting ID for this hearing is 161 122 6457 and the
passcode is Cleary644. The meeting ID and passcode can also be found on the judge’s page on
the court’s web site.

        If you object to this motion and want it called on the presentment date above, you must
file a Notice of Objection no later than two (2) business days before that date. If a Notice of
Objection is timely filed, the motion will be called on the presentment date. If no Notice of
Objection is timely filed, the court may grant the motion in advance without calling it.


                                                 Ira Bodenstein, not individually, but as
                                                 chapter 7 trustee for the estate of Frank
                                                 Martin Paris, Jr.

  Dated: July 17, 2024                           By:     /s/ Allen J. Guon
                                                         One of his attorneys


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                               CERTIFICATE OF SERVICE

       Allen J. Guon, an attorney, certifies that he caused to be served a copy of this Notice of
Motion and the attached Trustee’s Motion For The Entry Of An Order (I) Authorizing The
Trustee To Use Debtor’s Ownership Interest In And Control Over Martin NV II, Inc. To
File A Chapter 7 Petition On Behalf Of Martin NV II, Inc. And (II) Approving Shortened
And Limited Notice on each entity shown on the list below at the address shown and by the
method indicated on the list on July 17, 2024.

                                                   /s/ Allen J. Guon


Mailing Information for Case 23-16481

Electronic Mail Notice List

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Via Email
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Via First Class Mail
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Attn.: Registered Agent
800 N. Rainbow Blvd., Suite 208-21
Las Vegas, NV 89107

Keystone & Stuart
6859 SE Marina Way
Stuart, FL 34996




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                          UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 In re:                                                   Chapter 7

 FRANK MARTIN PARIS, JR.,                                 Case No. 23-16481

                                   Debtor.                Hon. David D. Cleary

  TRUSTEE’S MOTION FOR THE ENTRY OF AN ORDER (I) AUTHORIZING THE
 TRUSTEE TO USE DEBTOR’S OWNERSHIP INTEREST IN AND CONTROL OVER
 MARTIN NV II, INC. TO FILE A CHAPTER 7 PETITION ON BEHALF OF MARTIN
     NV II, INC. AND (II) APPROVING SHORTENED AND LIMITED NOTICE

          Ira Bodenstein, not individually, but as chapter 7 trustee (the “Trustee”) for the bankruptcy

estate of Frank Martin Paris, Jr. (the “Debtor”), pursuant to 11 U.S.C. §§ 105(a), 363(b), 541(a)

and Fed. R. Bankr. P. 2002(a)(2), 6004, 9006(c) and 9007, hereby moves for the entry of an order:

(i) approving the Trustee’s use of the Debtor’s ownership interest in, and control over, non-debtor

Martin NV II, Inc., a Nevada corporation (“Martin NV II”), to cause the filing of a chapter 7

bankruptcy petition by Martin NV II; and (ii) approving shortened and limited notice of the motion

for cause shown. In support of the motion, the Trustee states as follows:

                        JURISDICTION AND PROCEDURAL HISTORY

          1.     On December 8, 2023 (the “Petition Date”), the Debtor filed a voluntary petition

for relief under chapter 7 of title 11, United States Code (the “Bankruptcy Code”), thereby

commencing this chapter 7 bankruptcy case (the “Case”) and creating the Debtor’s estate (the

“Estate”).

          2.     On February 21, 2024, the Debtor filed a motion to convert his pending chapter 7

case to a case under subchapter V of chapter 11. [Dkt. No. 65.] The Court denied the Debtor’s

motion on the basis that conversion to chapter 11 would be futile as reflected in the Order Denying

Motion to Convert to Chapter 11, dated June 17, 2024. [Dkt. No. 177.]
        3.         On June 12, 2024, the Trustee issued his initial report of assets and requested that

notice be sent to creditors fixing the time for filing claims. [Dkt. No. 173.]

        4.         On July 11, 2024, the Court authorized the Trustee to retain the services of

Development Specialists, Inc. as his financial advisor to assist in the evaluation, recovery,

preservation and liquidation of the Estate’s assets. [Dkt. No. 189]

        5.         On July 16, 2024, Judge Romanek of the Circuit Court of Cook County, Illinois

(the “State Court”) remanded the Debtor to the custody of the Sheriff of Cook County for, among

other reasons, failure to pay outstanding child support. The State Court ordered that the Debtor

will not be released until a cash bond is posted in the amount of $350,000.

        6.         The Trustee has not yet concluded the § 341 meeting of creditors. The continued

§ 341 meeting is currently scheduled for July 31, 2024. [Dkt. No. 184.]

        7.         This Court has jurisdiction to hear this matter and enter a final order granting the

relief requested herein pursuant to 28 U.S.C. §§ 157(b)(2) and 1334 and Internal Operating

Procedure 15(a) of the United States District Court for the Northern District of Illinois. Venue of

this proceeding and Application is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409.

This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2)(A).

                                            BACKGROUND

        A.         The Commencement of the Debtor’s Chapter 7 Case

        8.         The Debtor and Kerry Paris (“Kerry”) were married in 2002. In 2016, Kerry filed

a Petition for Dissolution of Marriage in the State Court and the contentious divorce proceedings

have been ongoing for over 8 years. After a full trial, the State Court entered its Memorandum and

Order: Judgment for Dissolution of Marriage, dated December 2, 2022 (the “JDOM”).

        9.         The disputes between Kerry and the Debtor over the Debtor’s non-compliance with

his domestic support obligations continued long after the State Court entered the JDOM. Those


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disputes finally came to a head on December 7, 2023, when the Debtor was arrested for failing to

purge his contempt by posting the sum of $1,622,850.35 with the Clerk of the State Court. In an

attempt to free himself from jail, the Debtor filed his voluntary petition for relief under chapter 7

of the Bankruptcy Code on December 8, 2023.

        B.         The State Court’s Findings Regarding the Debtor’s Business Interests

        10.        The Debtor carries on his business activities through dozens of entities that are

comprised of investment holding companies, real estate holding companies, operating companies

and management companies. [JDOM, at 25-57.] A copy of the Ownership Chart for the Debtor’s

known entities is attached as Exhibit A.

        11.        The State Court found that the ownership structure of his various businesses was

exceedingly complex and was designed for, among other things, “[b]usiness and liability

protection” as well as to be “bankruptcy remote.” [Id., at pp. 53-57.] As described by the Debtor,

“[t]he Maeve investment series are a sophisticated series of various [c]ompanies (alphabetically

lettered from A to LL) that own: 1) cash and marketable securities; 2) real property; 3) operating

companies; 4) undivided interests in real property; and 5) other companies that no longer hold

real estate or assets.” [Id., at 53 (emphasis original).]

        12.        The State Court determined that the value of Debtor’s interests in his entities were

“substantial” and had a mean value of over $20.3 million. [JDOM, at 58.] The State Court also

found that the Debtor “controls and dictates both his salary and whether any annual distributions

are made for dividends, bonuses and the like.” [Id., at 65.]

        C.         Martin NV II, Inc.

        13.        As reflected in the Debtor’s Amended Schedules and Statement of Financial Affairs

filed on February 27, 2024 (collectively, the “Schedules”), the Debtor, through the Frank Martin

Paris, Jr. Trust (“FMP Trust”), owns and controls interests in over 40 entities including an 85%


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ownership interest in Martin NV II. [Dkt. No. 70, hereinafter “Sched.”]. Upon information and

belief, the Frank Martin Paris, Jr. Children’s Trust (the “Children’s Trust”), a trust established for

the benefit of the Debtor’s children, owns the remaining 15% of Martin NV II. 1

        14.        Martin NV II indirectly owns the investments that comprise substantially all of the

Debtor’s net worth including the Maeve investment series of limited liability companies. See

Exhibit A.

        15.        The Debtor is the President, Secretary, Treasurer and sole director of Martin NV II.

A copy of the Nevada Secretary of State’s website reflecting Martin NV II’s corporate information

is attached as Exhibit B.

        16.        In his Schedules, the Debtor asserts that Keystone & Stuart, an entity owned and/or

controlled by the Debtor’s father, made loans to the Debtor in the principal amount of $2.4 million,

which are purportedly secured by the Debtor’s interests in Martin NV II. [Sched. D. at Q. 2.4, 2.5.]

        D.         The Guaranty Action Against Martin NV II

        17.        301 W North Avenue, LLC (“301 W North”) is one of the many entities indirectly

owned by Martin NV II and controlled by the Debtor. See Exhibit A. 301 W. North owns a 69-

unit residential apartment building, commonly known as the North Park Pointe Apartments, in

Chicago, Illinois (the “Property”).

        18.        BDS III Mortgage Capital G, LLC (“BDS III”) loaned 301 W North the principal

amount of $26 million to refinance certain existing loans on the Property (the “Loan”). The Loan

is purportedly secured by a Mortgage, Assignment of Leases and Rents, Security Agreement and

Fixture Filing dated as of September 23, 2020 that encumbers the Property and related personal




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 At the time of the divorce trial, the State Court determined the Martin NV II stock was owned 88.009%
by the FMP Trust and 9.991% by the Children’s Trust.


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property. As a condition to BDS III making the Loan, Martin NV II gave to BDS III that certain

guaranty entitled Guaranty of Recourse Obligation, dated as of September 23, 2020 (the

“Guaranty”).

        19.        On February 27, 2024, 301 W North filed a voluntary petition for relief under

chapter 11 of the Bankruptcy Code. See In re 301 W North Avenue, LLC, Case No, 247-02741

(Bankr. N.D. Ill.). The Debtor, as President of 301 W North’s manager, MK Manager Corp., signed

the chapter 11 petition on 301 W North’s behalf without the knowledge of the Trustee.

        20.        As a consequence of the chapter 11 filing, BDS III filed an action against Martin

NV II in the United States District Court for the Southern District Court of New York (the “District

Court”) entitled BDS III Mortgage Capital G, LLC v. Martin NV II, Inc., Case No. 24-cv-01826

(the “Guaranty Action”). In the Guaranty Action, BDS III sought a judgment against Martin NV

II on account of its guaranty of 301 W North’s obligations under the Loan.

        21.        Martin NV II did not defend the Guaranty Action.

        22.        As a result, on June 27, 2024, the District Court entered a default judgment in the

Guaranty Action against Martin NV II in the amount of $32,197,601.44 (the “Default Judgment”).

A copy of the Default Judgment is attached as Exhibit C.

                                        RELIEF REQUESTED

        23.        By this Motion, the Trustee respectfully moves for the entry of an order authorizing

the Trustee’s use of the Debtor’s ownership interest in and control over Martin NV II to cause the

filing of a chapter 7 bankruptcy petition by Martin NV II. The Trustee also requests the Court

approve the shortened and limited notice of the motion for cause shown.

                                          BASIS FOR RELIEF

        24.        Upon the filing of a chapter 7 petition, an estate is created that includes “all legal

or equitable interests of the debtor in property as of the commencement of the case.” 11 U.S.C.


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§ 541(a)(1). The Supreme Court has explained that § 541(a)’s definition of “property of the estate”

was intended to be “broad.” Patterson v. Shumate, 504 U.S. 753, 757 (1992). Indeed, this Court

has already determined that Debtor’s interests in each of his entities are property of the Estate. See

In re Paris, 656 B.R. 225, 235 (Bankr. N.D. Ill. 2024) (“Only Marty’s membership or other interest

in each entity can be categorized as property of the estate.”). Accordingly, the Debtor’s interest in

Martin NV II is property of the Estate.

        25.        Further, § 363(b)(1) of the Bankruptcy Code provides that “[t]he trustee, after

notice and a hearing, may use, sell or lease, other than in the ordinary course of business, property

of the estate.” 11 U.S.C. § 363(b)(1). Courts routinely approve the use or sale of estate property

where the trustee has demonstrated “articulated business justification.” See, e.g., Fulton State Bank

v. Schipper (In re Schipper), 933 F.2d 513, 515 (7th Cir.1991); In re Efoora, Inc., 472 B.R. 481,

488 (Bankr. N.D. Ill. 2012); In re Olde Prairie Block Owner, LLC, 448 B.R. 482, 492 (Bankr.

N.D. Ill.), aff’d, 460 B.R. 500 (N.D. Ill. 2011); Meyers v. Martin (In re Martin), 91 F.3d 389, 395

(3d Cir. 1996).

        26.        The criteria for approving use of estate property outside the ordinary course of

business is “whether the transaction makes good business sense, in which event the creditors as a

whole should benefit, In re Schipper, 933 F.2d 513, 515 (7th Cir.1991), and whether it preserves

the priorities among the creditors.” United Retired Pilots Benefits Prot. Assn. v United Airlines,

Inc. (In re UAL Corp.), 443 F.3d 565, 572 (7th Cir. 2006). To supplement the Trustee’s powers

under § 363, § 105(a) of the Bankruptcy Code provides that the “court may issue any order,

process, or judgment that is necessary or appropriate to carry out the provisions of this title.”

11 U.S.C. § 105(a).




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        27.        In this case, the Trustee has a sound business justification for causing Martin NV

II to file a chapter 7 petition. As a result of the Default Judgment, BDS III may seek to execute on

and secure its $32 million judgment against Martin NV II for the purpose of collecting on its

guaranty claim ahead of all other creditors of the Estate. Keystone & Stuart may also seek to assert

its purported interests against Martin NV II. Martin NV II must be a debtor in a case under the

Bankruptcy Code so that its assets may be recovered and/or sold pursuant to § 363(b) for the

benefit of all creditors – not just BDS III and/or Keystone & Stuart. In light of the foregoing, the

Trustee has a strong articulated business justification to pursue a chapter 7 bankruptcy filing by

Martin NV II. Under these circumstances, a chapter 7 bankruptcy case of Martin NV II is clearly

in the best interests of the Estate.

                                                NOTICE

        28.        The Trustee has provided 7 days’ notice of this motion by mail, email or through

the Court’s CM/ECF system to the following persons: (i) counsel to the United States Trustee;

(ii) the Debtor; 2 (iii) the registered agent for Martin NV II; (iv) Keystone & Stuart; (v) BDS III;

and (vi) the parties on the ECF service list via CM/ECF electronic noticing.

        29.        Bankruptcy Rules 2002(a)(2) and 6004(a) generally require 21 days’ notice of a

proposed use of a debtor’s assets outside of the ordinary court to be sent to all creditors. In light

of the active creditors in this Case, the Trustee submits that limited notice provided is sufficient

and appropriate under the circumstances and that requiring notice to all creditors would result in

unnecessary administrative expenses. Further, there is need for shortened notice of this motion in

light of the fact that BDS III may seek to enforce its judgment to the detriment of the Estate’s




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  On May 1, 2024, the Court entered an order authorizing the Debtor’s counsel to withdraw as counsel of
record in the Case. [Dkt No. 132.] No substitute counsel has filed an appearance for the Debtor in the Case.


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creditors. Accordingly, the Trustee requests that this Court exercise its authority under Fed. R.

Bankr. P. 2002(a)(2), 9006(c), and 9007 to limit and shorten notice of the motion to that already

provided and that order be immediately enforceable pursuant to Fed. R. Bankr. P. 6004(h).

        WHEREFORE, the Trustee respectfully requests entry of an order, in substantially the

form attached hereto: (i) granting this motion; (ii) approving the Trustee’s use of the Debtor’s

ownership interest in, and control over, non-debtor Martin NV II, to cause the filing of a chapter

7 bankruptcy petition by Martin NV II; (iii) approving shortened and limited notice of the motion

for cause shown; and (iv) granting further relief as this Bankruptcy Court deems just and proper.


                                               Respectfully submitted,

                                               Ira Bodenstein, not individually, but as
                                               chapter 7 trustee for the bankruptcy
                                               estate of Frank Martin Paris, Jr.

Dated: July 17, 2024                           By:     /s/ Allen J. Guon
                                                       One of his attorneys

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